Case 3:22-cv-01059-TJC-PDB Document 86 Filed 07/31/23 Page 1 of 2 PageID 1869




                  UNITED STATES DISTRICT COURT
                   MIDDLE DISTRICT OF FLORIDA
                     JACKSONVILLE DIVISION

 PATRICK NATHANIEL REED

 v.                                    CASE NO. 3:22-cv-01059-TJC-PDB

 BRANDEL EUGENE CHAMBLEE
 ET AL

 PATRICK NATHANIEL REED

 v.                                    CASE NO. 3:22-cv-01181-TJC-PDB

 SHANE RYAN ET AL

 Counsel for Plaintiff:                Counsel for Defendant:
 Larry Elliot Klayman, Esq             Rachel E. Fugate, Esq.
                                       Minch Minchin, Esq.
                                       Jeremy Chase, Esq.
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                                       Linda Norbut, Esq.
                                       Gregory W. Herbert, Esq.
                                       Jay Ward Brown, Esq.

                HONORABLE TIMOTHY J. CORRIGAN
                 UNITED STATES DISTRICT JUDGE

 Courtroom Deputy: Aileen Manrique         Court Reporter: Shannon Bishop


                             CLERK’S MINUTES

PROCEEDINGS OF MOTION HEARING: Hearing regarding Defendants’
Motion to Dismiss Amended Complaint (Doc. 35), Defendants Gannett
Satellite Information Network, LLC’s and Gannett Co., Inc.’s Motion
to Dismiss Amended Complaint and For Fees with Supporting Memorandum
of Law (Doc. 38), Defendant Conde Nast International, Inc. D/B/A The New
Yorker’s Motion to Dismiss Amended Complaint and For Attorneys’ Fees and
Costs with Supporting Memorandum of Law (Doc. 62), Defendants Hachette
Case 3:22-cv-01059-TJC-PDB Document 86 Filed 07/31/23 Page 2 of 2 PageID 1870




Book Group, Inc.’s, Shane Ryan’s, and NYP Holdings, Inc.’s Motion to
Dismiss The First Amended Complaint (Doc. 33), Defendants The Associated
Press’ and Doug Ferguson’s Corrected Motion to Dismiss Amended
Complaint with Supporting Memorandum of Law (Doc. 36), Bloomberg L.P.’S
Motion to Dismiss Amended Complaint (Doc. 50), Defendant Erik Larson’s
Motion to Dismiss First Amended Complaint (Doc. 65), Plaintiff Patrick
Nathaniel Reed’s Motion for Leave to Supplement His Oppositions to Motions
to Dismiss (Doc. 76 and 83)


   -   Order to enter.




DATE: July 31, 2023                           TIME: 2:03 p.m. – 4:51 p.m.
                                             (Total Time: 2hr 48 Minutes)




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